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                                United States District Court
                                 Middle District of Florida
                                   Jacksonville Division


  BARBARA J. HEJDUK AND CHARLES A. HEJDUK,

                Plaintiffs,

  v.                                                              NO. 3:20-cv-61-J-34PDB

  ETHICON, INC., AND JOHNSON & JOHNSON,

                Defendants.




                                            Order

         The defendants move to seal three exhibits to two motions to exclude expert
  opinions because the exhibits include unredacted personal information. Doc. 94.

         The defendants explain the exhibits—Docs. 88-1, 88-3, and 89-1—are curricula
  vitae for experts that include the experts’ birthdates. 1 Doc. 94 at 2. The defendants
  explain they have now filed redacted versions of the exhibits omitting the birthdates. 2
  Doc. 94 at 2; see Docs. 91–91-2, Docs. 92–92-1. The clerk removed the original,
  unredacted exhibits from the docket after the defendants filed the redacted versions.
  See docket notations for Docs. 88 and 89.

         Because the original exhibits are no longer on the docket, the Court denies




         1In  an electronic filing that includes a birthdate or the name of an individual known
  to be a minor, the filing may include only the year of the individual’s birth and the minor’s
  initials. Fed. R. Civ. P. 5.2(a)(2)–(3).
         2The defendants explain one of the exhibits, Doc. 89-1, also names the expert’s
  children and, without knowing their birthdates, the defendants redacted the names in an
  abundance of caution. Doc. 94 at 2 n.1; see Doc. 92-1 (redacted version).
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  the motion to seal them, Doc. 94, as unnecessary.

        Ordered in Jacksonville, Florida, on September 18, 2020.




  c:    Counsel of Record




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